Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 1 of 36

   

  

Fiil in this information to identify the case

     

Debtcr name Driiiing Structures lnternationai, inc.

     
  
 

United Siates Bankruptcy Court torthe: SOUTHERN D]STR|CT OF TEXAS

 

  
 
 

   

Case number 18-33395

(if known) |:f Check if this is an

amended filing

 

Officiai Form 206AiB
Scheduie AIB: Assets -- Reai and Personai Property 12115

M

Disc|ose all property, real and persona|, which the debtor owns or in which the debtor has any other iegal, equitabie, or future
interest. include ali property in which the debtor holds rights and powers exercisable for the debtor's own benefitl A|so
include assets and properties which have no book vaiue, such as fully depreciated assets or assets that were not capitalized
in Scheduie AIB, list any executory contracts or unexpired ieases. Aiso list them on Scheduie G: Executory Com‘racts and
Unexpired Leases iOi“ficiai Form 2066).

Be as complete and accurate as possibie. if more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Aiso identify the form and line number to which the
additionai information applies. if an additional sheet is attached, include the amounts from the attachment in the total forthe
pertinent part.

For Part1 through Pari: 'i 1, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation scheduie, that gives the details for each asset in a particuiar category. List each asset
only once. in valuing the debtor's interest, do not deduct the value of secured ciaims. See the instructions to understand the
terms used in this form.

Cash and cash equivalents

'i. Does the debtor have any cash or cash equivalents?

n No. Go to Pan 2.
|2[ Yes. Fili in the information beicw.

A|i cash or cash equivalents owned or controiied by the debtor Current value of
debtor's interest

2. Cash on hand

 

3. Checking, savings, money market, or financial brokerage accounts (identiij/ aii)

Name of institution (bank or brokerage firm) `pre of account Last 4 digits of
account number

3.1. independent Bank(speciai) n

 

 

 

 

 

#xS'i 64 W§H mi_ l _4_ $29,421.13
3.2_ independent Bank (operating)
#xxxxx5452 Checking account m§__ 1 _$__ _§_ $16.29
3.3. Trustmark Bank
xxx-xxx-3794 Checking account id mi:_ l _ii_ $1,287.04
3.4. Ladenburg Thalmann Asset iiiigt.
Brokerage xxx-xx0140 Brokerage MQM 'l_ 1 _0_ $16.53
4. Other cash equivalents (identiij/ aii)
Name of institution (bank or brokerage firm}
5. Totai of Part 1
Add lines 2 through 4 (inciuding amounts on any additional sheets}. Copy the total lo line 80. $30’740'99

 

 

 

Ofiiciai Form ZOBAIB Scheduie Ai‘B: Assets -- Reai and Personal Property page 1

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 2 of 36

Debtor Driiiing Structures internationat, lnc. Case number (if known) 18-33395

Name

m Deposits and prepayments

 

6. Does the debtor have any deposits or prepayments?

[_\7_'[ No. Go to Part 3.
|:| Ves. Fiii in the information beiow.

7. Deposits, including security deposits and utility deposits

Description, including name of holder of deposit

8. Prepayrnents, including prepayments on executory contracts, ieases, insurance, taxes, and rent

Descriplion, including name of ho§der of prepayment

9. Total of Part 2.
Add lines 7 through S. Copy the total to line 81.

Accounts receivable

10. Does the debtor have any accounts receivable?

[_'_] i\io. Go to Part 4.
EI Yes. Fi|l in the information beiow.

11. Accounts receivable

 

 

iia. 90 days old or iess: $0.00 - $0.00 = ______________ 9
face amount doubtqu or uncollectible accounts

iib. Over 90 days oid: $261,575.88 -- $0.00 = ______________ 9
face amount doubtful or uncollectibie accounts

12. Totai of Part 3
Current vaiue on lines ita + 1113 = line 12. Copy the total to line 82.

investments

13. Does the debtor own any investments?

E[ No. Go to Part 5.
|:| Yes. Fiil in the information beiow.
Vaiuation method

used for current value
14. iiiiutuai funds or publicly traded stocks not included in Part1

Name of fund or stock:

15. Non-pubiiciy traded stock and interests in incorporated and unincorporated
businesses, including any interest in an LLCl partnership orjoint venture

Narne of entity: % of ownership:

16. Government bonds, corporate bonds, and other negotiable and
non-negotiable instruments not included in Part1

Describe:
17. Totai of Part 4
Add lines 14 through 16. Copy the total to line 83.

foicial Forrn 206AlB Scheciu|e AiB: Assets -- Real and Personai Property

Current value of
debtor's interest

 

 

$0.00

 

 

Current value of
debtor's interest

$0.00

$261,575.88

 

 

$26‘1 ,575,88

 

Current value of
debtor's interest

 

 

$0.00

 

page 2 '

 

 

 

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 3 of 36

Debtor Dl'illti'lg Stl`LECfUI'BS infernafiol‘ial, [l'iC. Case number (if known) 18-33395

Name

lnventory, excluding agriculture assets

18.

19.
20.
21 .

22.

23.

24.

25.

26.

Does the debtor own any inventory (excluding agriculture assets)?

[_'] No. Go to Part 6.
Ei Yes. i=ill in the information beiow.

Generai description Date of the l\let book value of Va|uation method Current value of
last physical debtor's interest used for current value debtor's interest
inventory (Where available)

Raw materials lVliV'l/DD/YYYY

Work in progress

Finished goods, including goods held for resale

Other inventory or supplies
$2,?61 ,059.0[}

 

 

 

inventory
Total of Part 5 2
Add lines 19 through 22. copy the total to line 34. M

 

ls any of the property listed in Part 5 perishabie?

 

M l\lo

|:| Yes

Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

i_“v_?[ i\io

g Yes. Book value Valuation method Current value

Has any of the property listed in Part 5 been appraised by a professional within the last year?

E] No
[‘_‘| Yes

m Farming and fishing-related assets (other than titled motor vehicles and land)

27.

28.
29.

30.
31.
32.
33.

34.

Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

E[ No. Go to Part 7.
m Yes. Fill in the information below.

Genera| description l\let book value of Valuation method Current value of
debtor's interest used for current value debtor's interest

(Where available)
Crops--either planted or harvested

Farm animals Examples.' Livestock, poultry, farm-raised fish
Farm machinery and equipment (Other than titled motor vehicles)
Farm and fishing supplies, chemicats, and feed

Other farming and fishing-related property not already listed in Part 6

 

Total of Part 6. 0
Add lines 28 through 32. Copy the total to line 85. w____$;£_q.

 

 

 

ls the debtor a member of an agricultural cooperative?

m No

|:| Yes. is any of the debtor's property stored at the cooperative'?
m No
[_“_| Yes

Officia| Form 206AIB Scheduie AiB: Assets -- Reai and Personal Property page 3

 

 

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 4 of 36

 

 

Deblor Driiling Structures lnternational, lnc. ease number (if known} 13-33395
Name
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
|Z[ No
m Yes. Book value Va|ualion method Current value
36. is a depreciation schedule available for any of the property listed in Part 6?
M No
ij Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
|z[ l\io
m Yes

Office furniture, fixtures, and equipment; and collectibles

 

 

 

 

 

 

38. Does the debtor own or lease any office furniture, fixtures, equipment, or coilectibles?
|___| No. Go to Part 8.
g Yes. Flll in the information below.
General description Net book value of Valuation method Current value of
debtor's interest used for current value debtor's interest
(VVhere available)
39. Office furniture
Office furniture $4,905.00
40. Oi“fice fixtures
41. Office equipment, including all computer equipment and
communication systems equipment and software
Office equipment $3,665.00
42. Coilectibles Exampies: Antiques and figurines; palntings, prinls, or other
ariwork; books. pictures, or other art objects; china and crystal; stamp, coin.
or baseball card collections; other collectionsl memorabiiia, or coilectibles
43. Total of Part 7. 8 57
Add lines 39 through 42. Copy the total to line 86. ~m-M
44. ls a depreciation schedule available for any of the property listed in Part 7?
|z[ No
l:] Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
|z[ No
E] Yes
machinery, equipmentl and vehicies
46. Does the debtor own or lease any machinery, equipment, or vehicles?
}:] No. Go to Part 9.
121 Yes. Flll in the information below.
General description l\iet book value of Vaiuation method Current value of
include year, make, model, and identification numbers debtor's interest used for current value debtor's interest
(i.e., Vll\i, l-lli\l, or N-number) (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1. 2015 MERCEDES-BENZ GL8550
4DR 4X4 4iliiATlC
VlN 4JGDF7DE1FA446543 $42,661.00

 

Official Forrn 206AlB Schedule AiB: Assets -- Reai and Personai Property page 4

 

 

 

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Debtor Drilling Structures lnternational, lnc. Case number (if known} 18~33395
Name

47.2_ 2012 DODGE RANl 3500 DRW CREW
4X4 PlCKUP VlN 3063DRGLQCG203403 $20,000.00

47.3. 2012 DODGE RAlVl 3500 P|CKUP
4)(2 CREW CAB
VlN 3C7WDSCLXCGS19506 $18,000.00

47,4_ 2008 FLATBED BIG TEX TRA|LER
VlN 16VGX3527826'|7258 $500.00

47,5_ 2008 UTlLlTY TRA|LER
VlN 1TBBU14288T945264 $500.00

47.6. 2008 UTlLlTY TRAILER
VlN 1TSBU14298T945208 $500.00

47.7. 1999 FLATBED TRA|LER
VlN 5BEBF3523XC108657 ' $250.00

48. Watercraft, trailers, motors, and related accessories Examples: Boats
trailers, moiors. floating homes, personal watercraft and fishing vessels

49. Aircratt and accessories

50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)

Singlecl Nletered Cross 185,129.
Screw Rec|airn Blast Booth

200 HP Atlas Copco 95,345.
Rotary Screw Compressor

Fire Suppression System 39,517.

 

 

 

 

Side Downdraft Paintbooth 185,659. $505,560.00

Forklifts:

1 TAYLOR TXH 350 L $44,1'19

SN 35642

‘l TAYLOR TXH 350 L $46,887

SN 35643

‘l TAYLOR TXH 350 L $46,939

Sl\l 35644 $137,944.00
51. Total of Part 8.

Add lines 47 through 50. Copy the total to line 87. ____§ZM

 

 

 

52. ls a depreciation schedule available for any of the property listed in Part 8?

EZ[ No
m Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

|';_7[ l\lo
|:| Yes

Reai property

54. Does the debtor own or lease any real property?

 

l:| No. Goto Parllo.
[;Z[ Yes. Flll in the information below.

Offlcia| Form ZOBAIB Scheclule AlB: Asset -- Reai and Personal Property page 5

 

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/13 Page 6 of 36

Debier Driiling Structures lnternationai, inc. Case number (if known) 18-33395
Name

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of property Neture and extent Net book value of Valuation method Current value of
include street address or other description of debtor's interest debtor's interest used for current debtor's interest
such as Assessor Farcel l\lumber (APN}, in property (Where availab|e) value

and type of property (for example,
acreage, factory, vvarehousel apartment or
office building), if availablel

 

55.1_ 11704 Trickey Rd.
Houston, Harris Co., TX 77069

 

 

 

 

11704 Trickey Rcl Fee Simp[e $847,514.00
56. Total of Part 9.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheels. Copy the total to line 88. M

 

 

57. is a depreciation schedule available for any of the property listed in Part 9?
[Z}' No
m Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
g No
g Yes

Part 10: intangibles and intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

m No. Golo Part 11.
M Yes. Flll in the information below.

General description l\let book value of Valuation method Current value of
debtor's interest used for current value debtor's interest
(Where available)
60. Patents, copyrights, trademarks, and trade secrets

Drilling Structures |nternational, lnc.

 

 

 

(copyright) Unl<nown
SELng (TNl) Unknown
61. internat domain names and Websites
www.drii|ingstructuresintl.com Unknown
62. l_icenses, franchises, and royalties
Unlmovvn

American Petroleum institute (APi) license

TCEQ Air Quality Permlt Unknown

63, Customer iists, mailing lists, or other compilations

 

64. Other intangibles, or intellectual property

 

 

 

65. Goodwill
66. Total of Part 10.
Aed lines eo through 65. copy the ieiei re line ee. WMW”_$Q§£

 

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 'lO’l(4‘lA) and 107)?
121 No
g Yes
68. ls there an amortization or other similar schedule available for any of the property listed in Part 'itl?
M No
m Yes

 

Olficia| Form 206AIB Scheduie Ale Assets -~ Reai and Persona| Property page 6

Case 18-33395 Document 10 Filed in TXSB on 07/11/13 Page 7 of 36

Debtor Driiling Structures lnternational, inc. Case number (if known) 18-33395
Name

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
No
m Yes

Part 11: Ail other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in executory contracts and unexpired leases not previously reporied on this form.

 

m No. Go to Part12.
|z| Yes. Flll in the information below.

Current value of
debtor's interest
71. Notes receivable
Description (include name of obligor)
72. Tax refunds and unused net operating losses (NOLs}

Description (for exampie, federall state. loca|)

73. interests in insurance policies or annuities

 

lllietlife policy #202178261A

Polioy amount: $1,123,401.71

lnsured: Phi|lip Rivera Jr.

Owner: Drlliing Structures international lnc. $181,549.70

?4. Causes of action against third parties (wbether or not a lawsuit has been filedl

Demand for disbursement of escrow funds, $500,000 of which are Phillip Rivera Sr.‘s
Escrow agent:

l'-“rost Brown Todd LLC

'lO West Broad St, Ste. 2600

 

 

Columbus, OH 43215 $1,000,000.00
Nature of claim Return of escrow funds
Amount requested $1,000!000.00

Clalm for full payment due under promissory note:
Comdistral, S.A.

Attn: lills. N'laria 'l'eresa Carreno Perez

Cra 2 No. 1F-’l49 Zona Franca

Barranquiila, Atlantico

 

 

Columbia

(company no longer in business) $0.00
Nature of claim Company no longer in business

Amount requested $0.00

Claim for full payment due under promissory note:
Ronald ..l. Goldschmidt

 

 

435 Elm St.

Cincinnati, Ol-l 45202 $75,000.00
Nature of claim Promissory note

Amount requested $75,000.00

 

Offlcial Form 206A/B Schedule AIB: Assets -- Reai and Personal Property page 7

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Debior Dril|ing Structures |nternational, lnc. Case number (if known)

75.

76.

77.

78.

79.

Name

Jorge l'\ilendoza
301 Coach Rd.
Houston, TX 77060

Default on promissory notes for properties:
307 Coach Rd - $9,930.74

18-33395

 

 

 

 

 

 

301 Coach Rd - $39,262.88 $49,193.62
Nature of claim Default - promissory notes
Amount requested $49,193.62
Potential bad faith claims against various insurance companies
Value: Unl<nown Uni<nown
Nature of claim Bad faith claims
Amount requested
Ciaim against Lioyds of London for refund owed $50,000.00
Nature of claim Claim for refund
Amount requested $50,000.00
Other contingent and unliquidated claims or causes of action of every nature,
including counterclaims of the debtor and rights to set off claims
Trusts, equitable or future interests in property
Other property of any kind riot already listed Examples.' Season tickels, country club membership
Unknown

General schematics

 

Total of Part 11.
Add lines 71 through 77. Copy the total to line 90.

Has any of the property listed in Part 'll been appraised by a professional within the last year?

1_7__{ No
|:[ Yes

Olficial Form 206A/B Schedule Ach Assets -- Reai and Personal Property

 

 

$1,355,743.32

 

page 8

 

 

 

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/13 Page 9 of 36

Debier Driliing Structures lnternatlonal, |nc. Case number (if known) 18-33395
Name

Part12: Surnmary

ln Part 12 copy all of the totals from the earlier parts of the form.

 

 

 

 

'l'ype of property Current value of Current value of §
personal property real property j
80. Cash, cash equivalents, and financial assets. $30,740.99
Copy line 5, Part 1.
B‘l. Deposits and prepayments. Copyllne 9, Part 2. $0.00
82. Accounts receivable. Copy line 12, Part 3. $261,575.88
83. investments Copy line 17, Part 4. $0.00
84. lnventory. Copy line 23, Part 5. $2,761,059.00
85. Farming and fishing-related assets. $0.00
Copy line 33, Part 6`.
86. Office furniture, fixtures, and equipment; ' $8,570.00
and collectibles. Copy line 43, Part 7.
87. Machinery, equipment, and vehicles $725,915.00
Copy line 51, Part 8.
88. Reai property. Copyli'ne 56, PartQ ................................................................ 9 $847,5‘14.00
89. intangibles and intellectual property. $0.00

 

Copy line 66, Part 10.

 

 

 

 

 

 

 

 

 

 

90. Ail other assets. Copy line 78, Part 11. + $1,355,743.32
91. Total. Add lines 80 through 90 for each column. 9'la. $5,143,604.'|9 + 91b. $847,514.00
92. Total of all property on Scheduie AIB. Lines Qia + 9‘lb = 92 $5,991,118.19

 

 

 

 

Officia| Form 206All3 Schedule AlB: Assets -- Reai and Personai Property page 9

 

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Fill in this information to identify the case:

Debior name Driiiing Structures lnternational, inc.

Uniied States Bankruptcy Coult for the: SOUTHERN DESTR|CT OF TEXAS

 

i:l Checl< if this is an

Case number 18-33395
amended filing

(if known)

Official Form 206D
Schedule D: Creditors Who l-lave Claims Secured by Property 12l15
M

Be as complete and accurate as possib|e.

’l. Do any creditors have claims secured by debtor's property?
|:| No. Check this box and submit page ‘l of this form fo the court with debtor's other schedulesl Deblor has nothing else to report on this form.
|Z{ Yes. Flll in ali of the information below.

m l_iet creditors who Heve secured claims

2. List in alphabetical order ali creditors who have secured ciaims. if a creditor has more
than one secured claim, list the creditor separately for each claim.

 

 

 

 

Creditor‘s name Describe debtor's property that is
First National Capital LLC subject to a lien $80,547.8’| $185,658.59
Paint booth

Creditor‘s mailing address
1029 i'llgl’\Way 6 NO. #550-283 Describe the lien

 

 

is the creditor an insider or related party?
Houston TX 77079 lz] NO

Creditor's email address, if known l:i Yes
is anyone else liable on this ciaim?

 

 

Date debtwas incurred |:] No
Last 4 digits of account M Yes. Flll out Soliedule H: Codebtors (Offlclal Form 206H)

number ______M Ae cline petition filing deie, the claim ie:
Do multiple creditors have an interest in Check all that apply

the same property? i“_“] Conllngent

{_;Z[ No ij Unliquidaled

m Yesi Speclly each creditor, including this l:| DiSPlil€€l
creditor, and its relative priorily.

3. Total of the dollar amounts from Part ‘l, Column A, including the amounts from the
Additional Page, if any. $789,'[45-76

Official Form 206D Scheduie D: Creditors Who l-lave Claims Secured by Property page 1

 

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 11 of 36

Deblor Dt‘illlt‘lg Structures lnterrlational, lnc. Case number (if known} 13~33395

m Additional Page

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

 

 

Creditor‘s name Describe debtor's property that is

 

 

 

 

 

 

 

lberlabanit subject to a lien $497’924'27 $847»514'00
Creditor‘$ mai;ing address 11704 Trickey Rd., HOUSfOn, TX
PO BO>< 13749 neeerihe line lien
l\llortgage
ls the creditor an insider or related party?
Nevv iberia LA 70562-3740 §§ No
Creditor's emai| address, if known l:l Yes

ls anyone else liable on this claim?

 

Date debt was incurred [“_‘l NO
Last 4 digits cf account M Yes. Flll out Schedule H.' Codebtors (Offlclal Form ZGBH)
number Ae urine petition filing date the claim ie:

Do multiple creditors have an interest in Check an that apply-

the same property? |:l Contirigent
M NO |'_'l Unliquidated
m Yes. Have you already specified the |:| Dlsplit@d

relative priority?
No. Specily each creditor, including this
creditor, and its relative priorityl

Yes. The relative priority of creditors is
specified on lines

m Creditor‘s name Describe debtor's property that is
N|ercedes subject to a lien $471175'38 $42’661 'OO
Creditor‘s mailing address 2015 Mercedes Benz cgl-550
PO BOX 5209 Describe the lien
Secured by Title to Vehicle

 

 

 

is the creditor an insider or related party?

 

 

 

 

Caro| Stream |t. 60197 M No
Creditor‘s email address, if known l:l Yes

ls anyone else liable on this claim?
Date debt was incurred ]Z[ NO

Last 4 digits of account l"_“| Yes. Fi|l oui Schedu!e H.' Codebtors (Ofiicial Form ZOBH)

number As of the petition filing date, the claim is:

Do multiple creditors have an interest in Ch@°k ali that appiyi

the same property? L___I Contingeni
M NU |:l Unliquidated
l:] ¥es. Have you already specified the l:] Di$l?llied

relative priority?
No. Specify each creditor, including this
creditor, and its relative priority.

‘{es. The relative priority of creditors is
specified on lines

Oificial Forrn 206[3 Additional Page of Scliedule D: Creditors Who Have Claims Secured by Property page 2

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 12 of 36

Debtor Dt‘i||ing Structures lnternational, lrlC. Case number (if known) 18-33395

Additional Pa_qe

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

 

 

Creditor‘s name Describe debtor's property that is

 

 

 

 

 

Siernens subject to a lien $41,795-1 8 $95,345.41
Creditor‘s mailing address COmPl‘eSSOI'
301 Lindenwood Drive, Ste. 215 Describe the!ien

Lease

 

 

ls the creditor an insider or related party?

 

 

 

llllalvern PA 19355 13 No
Creditor‘s emall address, if known l:l Yes

is anyone else liable on this claim?
Date debt was incurred |___] NO

Last 4 digits of account |`\_7_[ Yes. Fi|] out Schedul'e H.' Codebtors (Oflicial Form ZOSH)

number As of the petition filing date, the claim is:

Do multiple creditors have an interest in Check all that apply-

the same property? Contingent
EI

M No 13 Unllquidaled

jj Yes. Have you already specified the i___] DlSPLitefi

relative priority?
l:r No. Specify each creditor, including this
creditor, and its relative priority.

Yes. The relative priority ot creditors is
specified on lines

m Creditor‘s name Describe debtor's property that is
Wells Fargo Equipment Flnance subject to a lien $103’405‘89 $1 85’129'27

Blast room equipment

 

Creditor‘s mailing address
733 Nlarquette Ave, Ste 700 Descr;be the lien

equipment lease

 

 

ls the creditor an insider cr related party?

 

 

 

Nlinneapolis lVlN 55402 |zf No
Creditor‘s emai| address, if known ij Yes

ls anyone else liable on this claim?
Date debt was incurred l:| NO

Last 4 digits cf account |z[ Yes. Flll out Schedu!e H.' Codebtors (Officla| Forrrl 206H)

number As er the petition filing dere, the claim ie;

Do multiple creditors have an interest in Check all thai apply'

the same property? § Contingent
|z[ No l'_“_| Unliquidated
|:] Yes. l-iave you already specified the m DiSDUi€d

relative priorily?

m No. Specity each creditor, including this
creditor, and its relative priority

Yes. The relative priority of creditors is
specified on lines

Olficial Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 13 of 36

Debter Dril|ing_Structures lnternational, lnc. Case number (if known) 18-33395

Additional Page

Copy this page only if more space is needed. Continue numbering the lines
sequentially from the previous page.

 

 

`5 Creditor‘s name Describe debtor's property that is
Wells Fargo Ec;uipment Finance subject to a lien
Fire suppression equipment

$18,296.23 $39,516.75

 

Creditor‘s mailing address
733 llllal'qt,leffe AV€, 516 700 Describe the lien

equipment lease

 

is the creditor an insider or related party‘?

 

 

 

l'lilinneapo[is l'lllN 55402 13 No
Creditor's email address, if known l:l Yes

ls anyone else liable on this claim?
Date debt was incurred |:| NO

Last 4 digits of account m Yes. Fill out Schedu!e H.‘ Codebtors (Ofticial Forrn 206H)

number As of the petition filing date, the claim is:

Do multiple creditors have an interest in Check an thai apply-

the same property? m Contingent
M No l:] Un|iquidated
|___| Yes. Have you already specified the l:] Di¢`>l?’ill€=d

relative priority?
[:j No. Speciiy each creditor, including this
creditor. and its relative priority.

Yes. The relative priority of creditors is
specified on lines

Ofticial Form 2060 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property ' page 4

 

 

 

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Fill in this information to identify the case:

Debtor Dri||ing Structures lnternational, inc.

United Stafes Bankruptcy Court for ther SOUTHERN DISTR|CT OF TEXAS

 

n Checl< if this is an

Case number 1 8-33395
amended filing

(if known)

Oificia| Form 206E/F
Schedule EIF: Creditors Who Have Unsecured Claims ' 12115

 

Be as complete and accurate as possibie. Use Part1 for creditors with PRlOR|TY unsecured claims and Part 2 for creditors with
NONPR|OR|TY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Reai and Personal Property (Otficia| Form 206AlB) and on Schedul'e G.'
Executory Contracts and Unexpired Leases (Otficial Form 2066). Number the entries in Parts 1 and 2 in the boxes on the |eft.

lf more space is needed for Part'l or Part 2, fili out and attach the Additional Page of that Part included in this form.

m List Air creditors with PruoRITY unsecured claims

1. Do any creditors have priority unsecured claims? (See 11 U.S,C. § 507).
m No. Go to Part 2.
321 Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
li more space is needed for priority unsecured claims, fili out and attach the Additionai Page of Part 1.

 

 

 

 

 

 

 

 

 

 

 

 

 

Total ciaim Priority amount
2_1 Priority creditor's name and maiiing address As of the petition filing date, the
_ _ $148,648.12 $148,648.12
Comptro|ler of Public Accounts claim '5’ Check a” that apply
Contingent
State of Texas i:| Umiquida{ed
PO Box 149348 LV_] Disputec[
Basis for the claim:
Austin TX 78714»9348
Date or dates debt was incurred
ls the claim subject to offset?
No
l_ast4 digits of account § Yes
number ___ __ _
Specify Cocle subsection of PRlORlTY unsecured
claim: ii U.S.C. § 507(a)( 8 )
Priority creditor‘s name and mailing address As of the petition filing date, the $116,737_44 $115’787_44
Department of the wesqu claim is: Check all that apply.
Contingent
8876 Gulf Freeway ST 5226 HSE |:| Um§quida€ed
|21 Disputed
Basis for the claim:
Houston TX 77017

 

 

Date or dates debt was incurred
ls the claim subject to offset?

|z[ Nc
Last 4 digits of account m Yes
number hw_ __ __ ___

Specify Code subsection of PR|ORITY unsecured

ciaim: 1'1 U.B.C. § 507(a)( 8 )

 

Offlciai Form ZOBE/F Scheduie E!F: Creditors Who Have Unsecured Claims page 1

 

 

 

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Debior Dri|ling Structures lnternationai, lnc.

Case number (if known)

List Aii creditors with NoNPRiORirY unsecured claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. lt more space is needed for nonprioriiy unsecured

claims, fill out and attach the Additional Page of Part 2.

 

3.1 Nonpriority creditor's name and mailing address

 

 

 

ADP
PO Box 842875

 

 

Boston NIA 02284
Date or dates debt was incurred

Last4 digits of account number

 

3.2 Nonpriority creditor’s name and mailing address

 

 

 

Amanda Velez
cio Jason lilledina
PO Box 1976

As of the petition fiiing date, the claim is:

Check all that apply.
m Contingent

13 Uniiquidated
m i)isputed

Basis for the claim:

 

 

Lubbock TX 79408-'1976
Date or dates debt was incurred

Last4 digits of account number

 

j 3.3 Nonpriority creditor's name and mailing address

 

 

 

American Express
2965 West Corporate Lakes B|vd

ls the claim subject to offset?

E[ No
jj Yes

As of the petition filing date, the claim is:

Check all that apply
|Z[ Contingeni

|:] Unliquidated
E‘_[ Dispuied

Basis for the claim:

 

 

 

Ft Lauderdale FL 33331
Date or dates debt was incurred

Last4 digits of account number

 

3.4 Nonpriority creditor's name and mailing address

 

 

 

American Express
PO Box 650448

 

 

Da|las TX 75265-0448
Date or dates debt was incurred

Last4 digits of account number

Officia| Form ZUBEIF

ls the claim subject to offset?

Ej No
|'_`j Yes

As of the petition filing date, the claim is:

Check all that appiy.
L'_'} Contingerit

|:l Uniiquidated
|:} Disputed

Basis for the claim:

Executive

ls the claim subject to offset?

EI No
ij Yes

As of the petition filing date, the claim is:

Check all that apply.
E Contingent

jj Uriiiquidated
1'_°| Disputed

Basis for the claim:
Corporate

ls the claim subject to offset?

M No
m Yes

Schedule E!F: Creditors Who Have Unsecured Claims

Amount of claim

$552,89

$1.00

$1,118.86

$9.00

page 2

 

 

 

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Debfor Drilling Structures lnternational, lnc.

Additional Psgs

Case number (if known)

18-33395

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. lt rio additional NONPR|ORETY creditors exist, do not fill out or submit this page.

 

3.5 Nonpriority creditor's name and mailing address

 

 

 

Arnerican Express
PO Box 650448

 

 

Dallas T)( 75265-0448
Date or dates debt was incurred

Last 4 digits of account number

 

3_6 Nonpriority creditor's name and mailing address

 

 

 

Ann Harris Bennett
PO Box 4622

 

 

i-|ouston TX 77210»4622
Date or dates debt was incurred

Last 4 digits of account number

 

3.7 Nonpriority creditor's name and mailing address

 

 

 

ATT Lancl|ine
PO Box 5019

As of the petition filing date, the claim is:

Check all that apple
]:| Contingeni

m Unliquidated
g Disputed

Basis for the claim:
Open

ls the claim subject to offset?

M No
ij Yes

As of the petition filing date, the claim is:

Check all that apply.
|:I Confingent

|:| Unliquidated
|:| ijispuled

Basis for the claim:

 

 

 

Carol Stream li. 60197
Date or dates debt was incurred

Last 4 digits of account number

 

3.8 Nonpriority creditor's name and mailing address

 

 

 

ATT Nlobi|ity
PO Box 537104

 

 

Atlanta GA 30353
Date or dates debt Was incurred

Last 4 digits of account number

OEficiai Form ZDSEIE-'

ls the claim subject to offset?

1_7__{ Nc
m Yes

As of the petition filing date, the claim is:

Check all that applyl
5 Coritingeni

n Uniiquidated
m Disputed

Basis for the claim:

 

ls the claim subject to offset?

121 No
jj Yes

As of the petition filing date, the claim is:

Check all that apply.
r'_'i Conlingent

m Uniiquidaied
|:I Dispuled

Basis for the claim:

 

ls the claim subject to offset?

M l\to
[_*_i Yes

Schedule E!F: Creditors Who Have Unsecured Claims

Amount of claim

$19,684.08

$269.50

$827.52

$879.02

page 3

 

 

 

 

 

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senior Dri|iing Structures lnternationaf, lnc. ease number (if known) 13_33395

m Additional Page

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. |f no additional NONPREORITY creditors exist, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.9 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $12]92@_00
Check all that apply
Bent|ey, Bratcher & Associates |:i Conlingent
515 west owens Road #710 Lj Unfiquidafed
]:[ Disputed
Basis for the claim:
Houston TX 77067-4525
Date or dates debt was incurred is the Claim Slibiect to Offset?
lz[ No
Last4 digits of account number __ mw wm _ |:| Yes
3,10 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $7,770_49
Checlr all that appiy.
Blue Cross Blue Shieid Texas ij Contingent
Po sex 731428 ij mandated
m Disputed
Basis for the claim:
Dal|as TX 75373-1428
Date or dates debt was incurred is the claim subject to offset?
g l\lo
Last4 digits of account number ___ ____ __ _ m Yes
3.11 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $15,557_35
Check all that apply.
Bowen Niiclette And Britt lns. ij Confingent
p0 BOX 922022 1:] Un|iquidated
M Dispuied
Basis for the claim:
Houston TX 77292
Date or dates debt was incurred ls the claim subject to otfset?
M No
Last 4 digits of account number _m WM w _ m Yes
3.12 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $51_54
Check all that apply_
Capital One m Contingent
Po sax 60599 ij Uniiqui€fafed
g_:[ Disputed
Basis for the claim:
City of lndustry CA 91 71 6-0599
Date or dates debt was incurred |S file Clail'n Subjeci tO Olfset?
521 No
Last 4 digits of account number jw w§“_ l _7_ E Yes
Official Form 206E/F Schedule EIF: Creditors Who Have Unsecured Claims page 4

 

 

 

 

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Debtor Drilling Structures lnternationai, lnc.

Additional Page

Case number (if known)

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

 

 

 

Capital One
PO Box 60599

3.13 Nonpriority creditor's name and mailing address

 

 

City of Industry
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Capital Premium Financing
12235 S 800 E Draper

CA 917‘16~0599

_L_§_Li

3.14 Nonpriority creditor's name and mailing address

 

 

Draper
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Cast|e Nletals
PO Box 841949

UT 84020

3.15 Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:

Check all that appty.
m Contingent

n Un|iquidated
m Disputed

Basis for the claim:

 

ls the claim subject to oftset?

M No
}:] Yes

As of the petition filing date, the claim is:

Check att that apply.
m Conlingent

jj Unliquidated
E[ Dispuled

Basis for the claim:

 

 

 

Dallas
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

 

Champion Energy Services, LLC

PO Box 4190

TX 75284-1 949

3.16 Nonpriority creditor's name and mailing address

 

 

Houston
Date or dates debt was incurred

Last4 digits of account number

Officia| Form ZGSEIF

TX 77210

ls the claim subject to offset?

|Z No
m Yes

As of the petition filing date, the claim is:

Check att that appty.
m Conlingent

|:j Linliquidated
E Dispuled

Basis for the claim:

 

ls the claim subject to offset?

|E' No
[:[ Yes

As of the petition filing date, the claim is:

Check all that app!y.
[‘_‘] Contingent

m Un|iguidated
["_'} Disputed

Basis for the claim:

 

is the claim subject to offset?

|2{ No
1'_“[ Yes

Schedule EIF: Creditors Who Have Unsecured Claims

Amount of claim

$50.05

$43,116.83

$6,390.00

$751 .15

page 5

 

 

 

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Debior Drilling Structures lnternational, lnc.

m Additional Page

Case number (it known)

18-33395

 

Copy this page only if more space is needed Continue numbering the lines sequentially from the
previous page. lt no additional NONPRiORlTY creditors exist, do not fill outer submit this page.

 

3.'|? Nonpriority creditor‘s name and mailing address

 

 

 

Cintas
PO Box 650838

 

 

Dallas TX 75265
Date or dates debt was incurred

Last 4 digits of account number

 

3.18 Nonpriority creditor’s name and mailing address

 

 

 

Comcast
PO Box 660618

 

 

Dal|as TX 75266
Date or dates debt was incurred

Last4 digits of account number

 

3.19 Nonpriority creditor's name and mailing address

 

 

 

Dahili
PO Box 205354

As of the petition filing date, the claim is:

Check all that appty,
m Contingent

[_‘] Unliquidated
m Dlsputed

Basis for the claim:

 

ls the claim subject to offset?

[I No
m Yes

As of the petition filing date, the claim is:

Check all that appty.
m Contingent

m Unliquidated
jj Disputed

Basis for the claim:

 

 

 

Dallas TX 75320
Date or dates debt was incurred

Last 4 digits of account number

 

3.20 Nonpriority creditor's name and mailing address

 

 

 

Dickerson Trucking
PO Box 1703

 

 

liberty TX 77575
Date or dates debt was incurred

Last 4 digits of account number

Ofticia| Form ZOSEIF

is the claim subject to offset?

M No
j:] Yes

As of the petition filing date, the claim is:

Check ali that appty.
m Contingent

[:| Unliquldated
[_:] Disputed

Basis for the ciairn:

 

is the claim subject to ottset?

521 No
m Yes

As of the petition filing date, the claim is:

Check atl that appty.
jj Contingent

|:_] Unliquiclated
jj Disputed`

Basis for the claim:

 

ls the claim subject to offset?

E[ No
|:| Yes

Schedule EtF: Creditors Who Have Unsecured Claims

Amount of claim

$64.21

$122.28

$323.80

$3,465.00

page 6

 

 

 

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Debtor Drilling Structures lnternatlonal, lnc. Case number (if known) 18-33395

 

m Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. lt no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

3.21 Nonpriority creditor's name and mailing address

 

 

 

Drilling Structures Columbia SAS
Calle 1F #2-106 Zona Franca Ba
Barranqui|l~Atlantic

Columbia

 

Date or dates debt was incurred

Last4 digits of account number

 

3.22 Nonpriority creditor‘s name and mailing address

 

 

 

Driiling Structures Equipment
PO Box 680207

 

 

l-louston TX 77268
Date or dates debt was incurred

l_ast 4 digits of account number

 

3,23 Nonpriority creditor's name and mailing address

 

 

 

Drilling Structures Panama
PO Box 680207

As of the petition filing date, the claim is:

Check all that appty.
jj Contingent

|:j Unthuldated
|:| Disputed

Basis for the claim:

 

ls the claim subject to oi"fset?

M No
m Yes

As of the petition filing date, the claim is:

Check all that appty.
|:j Contingent

|:[ Unllquidated
|:| Dispuled

Basis for the claim:

 

 

 

Houston TX 77268
Date or dates debt was incurred

Last 4 digits of account number

 

3.24 Nonpriority creditor's name and mailing address

 

 

 

E. Ailan `l`illerl PLLC
909 Fannin, Suite #3250

 

 

Houston TX 7701 0
Date or dates debt was incurred

Last4 digits of account number

Official Form 206E!F

ls the claim subject to offset?

M No
jj Yes

As of the petition filing date, the claim is:

Check all that appty.
]:| Contingent

jj Un|§quidated
jj Disputed

Basis for the claim:

 

ls the claim subject to offset?

|Zj No
L___| Yes

As of the petition filing date, the claim is:

Check att that app!y,
[:| Contingenl

j:j Unliquidated
m Dlsputed

Basis for the claim:

 

ls the claim subject to oftset?

55 No
[] Yes

Schedule EIF: Creditors Who Have Unsecured Claims

Amount of claim

$‘l ,242,295.70

$2,496,271.34

$341,955.60

$2,925.00

page 7

 

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Debtor Drilling Structures lnternational, lnc. Case number (if known) 18-33395

m Additional Page

 

Copy this page oniy if more space is needed. Continue numbering the lines sequentially from the
previous page. |f no additional NONPR|OR|TY creditors exist, do not fill outer submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim

3.25 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $1_00
Check ali that apply
Elma Velez cio Joseph D. Terry m Contingenl
Terry & Thweatt, PC [:[ Un|iquidaied
one oreenway Plaza, ste. 100 iii D'Sp"ied
Basis for the claim:
i-louston TX 77046-0102
Date or dates debt was incurred ls the claim subject to offset?
M No
Last 4 digits of account number m W W l-_-i Yes
3.?.6 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $1_00
Check ali that apply.
Ericka Perez clo Joseph D. 'i"erry 13 Cun£ingenz
Terry & Thweatt, PC |;] Ur\|i€|flidaf@d
One Greenway Plaza, Ste. 100 M D'Spu{ed
Basis for the claim:
Houston TX 77046~0102
Date or dates debt was incurred is the Ciaim Sllbi€C`-i to Offset?
M No
Last 4 digits of account number ____ ___ ___ m Yes
3.27 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $29_17
Check all that apply_
FedEX |:] Contingeni
Po sex mae m Umiquida=ed
j:| Disputed
Basis for the claim:
Pa|atine ll_ 60055
Date or dates debt was incurred ls the claim subject to offset?
§§ No
Last4 digits of account number M w mm m Yes
3.28 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $2’013_44
Check all that apply.
Grexo Techno|ogy Group g Contingent
17766 Preston Rd |:] Un|iquidated
|:l Disputed
Basis for the claim:
Dal|as TX 75252
Date or dates debt was incurred is the claim subject to offset?
. . |z[ No
Last4 digits of account number w w ___ _ m Yes
Official Form 206ElF Schedule ElF: Creditors Who Have Unsecured Claims page 8

 

 

 

 

 

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Debtg; Dril|ing Structures lnternationa|, lnc,

Additional Page

Case number (if '|<nown)

18~33395

 

Copy this page oniy if more space is needed. Continue numbering the iines sequentially from the
previous page. |f no additional NONF'R|OR|TY creditors exist, do not fill out or submit this page.

 

3.29 Nonpriority creditor‘s name and mailing address

 

 

 

Industrias Clavec ClA, LTDA
Antares OE‘i 3-253

lVlir|os Via al Tingo KN] 2112
Quito Ecuador '

As of the petition filing date, the claim is:

Check all that apply.
[] Contingent

E Un|iquidated
|“_"j Dispuied

Basis for the claim:

 

 

Date or dates debt was incurred

Last 4 digits of account number

 

3.30 Nonpriority creditor's name and mailing address

 

 

 

John Hancockilliletlife
PO Box 7247-0181

 

 

Philadelphia PA 19170
Date or dates debt was incurred

Last4 digits of account number

 

3.31 Nonpriority creditor's name and mailing address

 

 

 

Judah Johns Consulting
1331 Burning Tree

ls the claim subject to offset?

g i\|o
m Yes

As of the petition fiiing date, the claim is:

Check ali that apply.
[:| Contingenl

m Un|iquidated
g Disputed

Basis for the claim:

 

 

 

Kingwood TX 77339
Date or dates debt was incurred

Last4 digits of account number

 

3.32 Nonpriority creditor's name and mailing address

 

 

 

Kathy Buchenau
clo Robert S. Hogan
P.O. Box 2277

ls the claim subject to offset?

521 No
m Yes

As of tile petition filing date, the claim is:

Check ali thai appiy.
|:] Contingent

|:| Un|iquidated
|:| Disputed

Basis for the claim:

 

 

Lubbock TX 79424
Date or dates debt was incurred

Last 4 digits of account number

Oificiai Form 206EIF

ls the claim subject to offset?

E/] No
E'_'] Yes

As of the petition filing date, the claim is:

check an mar appiy.
|z[ Contingent

|:| Un|iquidaied
M Disputed

Basis for the claim:

 

ls the claim subject to offset?

M No
[”_”] Yes

Schedule E!i-': Creditors Who Have Unsecured Claims

Amount of claim

$420,347.62

$2,893.85

$355.00

$1.00

page 9

 

 

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Debtor Dri|ling Structures lnternationa|, lnc.

Additional Page

Case number {if known)

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NCJNPR|ORETY creditors exist, do not fill outer submit this page.

 

3.33 Nonpriority creditor‘s name and mailing address

 

 

 

Law Office of Brian Ettinger
5120 Woodway Drive #5004

 

 

Houston TX 77056
Date or dates debt was incurred

Last4 digits of account number

 

3.34 Nonpriority creditor's name and mailing address

 

 

 

Lioyds of London
5910 N Central Expy, Ste 500

As of the petition filing date, the claim is:

Check all that apply.
m Contingenf

|:j Un|iquidafed
|:j Dispuled

Basis for the claim:

 

 

 

Dal|as 'l'X 75231
Date or dates debt was incurred

Last4 digits of account number

 

3.35 Nonpriority creditor’s name and mailing address

 

 

 

Nlaxwell Oiifield Services LLC

Beachcomber Lane

ls the claim subject to offset?

m No
j:| Yes

As of the petition filing date, the claim is:

Check all that apply.
['_'j Contingent

jj Unilquidated
[:[ Disputecl

Basis for the claim:

 

 

 

Houston TX 77062
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.36 Nonpriority creditor's name and mailing address

 

Medcalf Fabrication
1703 Hugh Rd.

ls the claim subject to offset?

m No
|:| Yes

As of the petition filing date, the claim is:

Check all that apply.
m Contingent

jj Un|ic;uidated
jj Dispuled

Basis for the claim:

 

 

 

|~louston TX 77067
Date or dates debt was incurred

Last4 digits of account number

Officia| Form 206EIF

ls the claim subject to offset?

M No
j°_°'| Yes

As of the petition filing date, the claim is:

Check all that apply.
|:j Contingent

m Unliquidated
jj Disputed

Basis for the claim:

 

is the claim subject to offset?

w No
m Yes

Schedule E!F: Creditor‘s Who Have Unsecured Claims

18~33395

Amount of claim

$1'15,1 39.09

$50,000.00

$5,3’10.21

$10,461.00

page 10

 

 

 

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Debfor Dril|ing Structures international, lnc.

m Additional Page

Case number (if known)

18-33395

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. lf no additional NONPR!OR|TY creditors exist, do not fill outer submit this page.

 

3.37 Nonpriority creditor's name and mailing address

 

 

 

Nlodular Space Corporation
12603 Collections Center Drive

 

 

Chicago lL 60693-0126
Date or dates debt was incurred

Last 4 digits of account number

 

3.38 Nonpriority creditor's name and mailing address

 

 

 

Northwest Pest Contro|
9330 Nii||s Rd

As of the petition filing date, the claim is:

Check all that apply.
|:| Contingent

jj Unliquidated
j:] Disputed

Basis for the claim:

 

 

 

Houston TX 77070
Date or dates debt was incurred

Last 4 digits of account number

 

3.39 Nonpriority creditor's name and mailing address

 

 

 

On-Site AIC & Heating
810 Crysta| Lake

 

 

Spring TX 77380
Date or dates debt Was incurred

Last 4 digits of account number

 

3.40 Nonpriority creditor's name and mailing address

 

 

 

Phil|ip J. Rivera, Jr.
13419 K|uge Corner Lane

is the claim subject to offset?

j'\Zj No
|:j Yes

As of the petition filing date, the claim is:

Check all that appiy.
g Contingenl

j___j Unliquidated
|:j Disputed

Basis for the claim:

 

ls the claim subject to offset?

jz[ No
j:j Yes

As of the petition filing date, the claim is:

Cl'reck ali that appiy.
m Contingent

jj Unliguidated
jj Dispuled

Basis for the claim:

 

 

 

Cypress TX 7?429
Date or dates debt was incurred

Last 4 digits of account number

Offlcia| Form 206EIF

ls the claim subject to offset?

121 No
j:| Yes

As of the petition filing date, the claim |s:

Check all that apply.
[:j Contingent

j_°_] Unliguidaied
j:] Disputed

Basis for the claim:

 

is the claim subject to offset?

jz[ No
j:] Yes

Schedu|e ElF: Creditors Who Have ljnsecured Claims

Amount of claim

$'i ,404.63

$189.44

$770.00

$2,445,000.00

page ‘ll

 

 

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Debtor Dri|ling Structures lnternational, lnc.

M Additional Page

Case number (if known)

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Copy this page only if more space is needed. Continue numbering the iines sequentia|iy from the
previous page. lf no additional NONPRlOR[TY creditors exist, do not fill out or submit this page.

 

3_41 Nonpriority creditor‘s name and mailing address

 

 

 

Phil|ip Rivera, Jr.
13419 K|uge Corner Lane

 

 

Cypress TX 774-29
Date or dates debt was incurred

Last 4 digits of account number

 

3.42 Nonpriority creditor‘s name and maiiing address

 

 

 

Phillip Rivera, Sr,
8902 Sterling Gate Circle

 

 

Spring T)( 77379
Date or dates debtwas incurred

Last 4 digits of account number

 

3.43 Nonpriority creditor's name and mailing address

 

 

 

Praxair Dist. lnc.
PO Box 12081 2

As of the petition fiEing date, the claim is:

Check all that appty.
[:j Contingeni

j“_“] Unliquidated
m Disputed

Basis for the claim:
Loan

ls the claim subject to offset?

g No
j:j Yes

As of the petition filing date, the claim is:

Check ali that appiy.
E Contingenf

j'_"j Lin|iquidated
j'_'l Disputed

Basis for the claim:

 

 

 

Dallas TX 7531 2-0812
Date or dates debt was incurred

Last 4 digits of account number

 

3.44 Nonpriority creditor's name and mailing address

 

 

 

Pro-Line Water Screen Services
PO Box 2565

ls the claim subject to offset?

M' No
m Yes

As of the petition filing date, the claim is:

Check all that appiy.
L__j Contingent

j:| Unliquidated
m Disputed

Basis for the claim:

 

 

 

Pear|and TX 77588
Date or dates debt Was incurred

Last 4 digits of account number

Officiaf Fnrm QDBEIF

is the claim subject to offset?

M No
|:j Yes

As of the petition filing date, the claim is:

Check ali that apply.
|:j Conllngeni

g Un|iquidated
g Disputed

Basis for the ciaim:

 

ls the claim subject to offset?

g No
j’_`| Yes

Schedule E!F: Creditors Who Have Unsecured Claims

Amount of claim

$335,146.00

$837,276.49

$6,690.62

$68,564.44

page 12

 

 

 

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Debtor Driiling Structures lnternational, lnc.

m Additional Page

Case number (if known)

18-33395

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|OR|TY creditors exist, do not fill out or submit this page.

 

3.45 Nonpriority creditor's name and mailing address

 

 

 

Protection One
PO Box 219044

 

 

Kansas City NIO 641 21 -9044
Date or dates debt was incurred

Last 4 digits of account number

 

3.46 Nonpriority creditor’s name and mailing address

 

 

 

Ramirez, Armandina Tapia De
2427 A Kelly Lane

As of the petition filing date, the claim is:

Check all that appty.
jj Contingent

§ Lin|iquidaled
jj Dispuied

Basis for the claim:

 

 

 

Houston TX 77066
Date or dates debt was incurred

Last 4 digits of account number

 

3.47 Nonpriority creditor‘s name and mailing address

 

 

 

Ramrod Trucking, lnc.
3009 Hohl St

 

 

Houston TX 77093
Date or dates debt was incurred

Last 4 digits of account number

 

3.48 Nonpriority creditor's name and mailing address

 

 

 

Rapid Nlarine Fuels
PO Box 68`?

 

 

Deer Parl< TX 77536
Date or dates debt was incurred

Last 4 digits of account number

Officiai Form ZOBEIF

ls the claim subject to offset?

Ej No
jj Yes

As of the petition filing date, the claim is:

Check all that apply.
[“_'j Contingent

[:j Un|iquidated
[:j Disputed

Basis for the claim:

 

ls the claim subject to offset?
M No
jj Yes

As of the petition fiiing date, the claim is:

Check all that appty.
jj Contingeni

jj Un|iquidated
|:| Dispufed

Basis for the claim:

 

ls the claim subject to offset?

M No
|:[ Yes

As of the petition filing date, the claim is:

Check all that appiy.
m Contingent

jj Unliquidaled
jj Dispuied

Basis for the claim:

 

ls the claim subject to offset?

jj No
j:j Yes

Schedule ElF: Creditors Who Have Unsecured Claims

Amount of claim

$1,645.17

$468,875.81

$2,889.00

$1,121.83

page 13

 

 

 

 

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Debto; Drilling Structures lnternationai, lnc.

m Additional Page

Case number (if known}

18-33395

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|ORITY creditors exist, do not fill out or submit this page.

 

3.49 Nonpriority creditor‘s name and mailing address

 

 

 

Recl Ball Oxygen
PO Box 7316

 

 

Shreveport LA 71137
Date or dates debt was incurred

Last 4 digits of account number

 

3.50 Nonpriority creditor‘s name and mailing address

 

 

 

Roberto Corona
11622 Welshpooi Glen

As of the petition filing date, the claim is:

Check att that appiy.
jj Contingent

j:j UnEiquldaled
m Disputec|

Basis for the claim:

 

 

 

Houston TX 77066
Date or dates debt was incurred

Last 4 digits of account number

 

3.5'1 Nonpriority creditor‘s name and mailing address

 

 

 

Stapies Advantage
PO Box 83689

ls the claim subject to offset?

Ej No
Ej Yes

As of the petition filing date, the claim is:

Check all that apply
[:] Contingent

|;j Un|iquidated
[:j Dispuied

Basis for the claim:

 

 

 

Chicago lL 60696
Date or dates debt Was incurred

Last 4 digits of account number

 

3.52 Nonpriority creditor‘s name and mailing address

 

 

 

Texas lltlutual lnsurance
PO Box 841843

is the claim subject to offset?

jz[ No
j:| Yes

As of the petition filing date, the claim is:

Check all that app!y.
jj Contingent

m Unliquidaied
j:| Disputed

Basis for the claim:

 

 

 

Dal|as TX 75254
Date or dates debt was incurred

Last 4 digits of account number

Offinia| Fnrm QGBFtl`-`

ls the claim subject to offset?

jzj No
j:j Yes

As of the petition filing date, the claim is:

Check all that appty.
j:j Contingent

j:‘_'j Unliquidated
m Disputed

Basis for the claim:

 

ls the claim subject to offset?

jzj' No
g Yes

Scl'iedule EtF: Creditors Who Have Unsecured Claims

Amount of claim

$12.20

$125.00

$162.16

$56.00

page 14

 

 

 

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Debtor Dri|ling Structures lnternational, lnc.

m Additional Page

Case number (if known}

18-33395

 

Copy this page only if more space is needed. Continue number|ng the lines sequentially from the
previous page. lf no additional NONPRlORlTY creditors exist, do not fill out or submit this page.

 

3.53 Nonpriority creditor‘s name and mailing address

 

 

 

Texas Outhouse lnc.
PO Box 4509~1

 

 

Houston TX 77210-4509
Date or dates debt was incurred

Last 4 digits of account number

 

3,54 Nonpriority creditor‘s name and mailing address

 

 

 

TLC Office Systems (AR)
L379'l

As of the petition filing date, the claim is:

Check all that appty.
j:| Contingent

jj Unliquidated
j:] Dispuied

Basis for the claim:

 

 

 

Columbus Ol-l 43260
Date or dates debt was incurred

Last4 digits of account number

 

3.55 Nonpriority creditor‘s name and mailing address

 

 

 

Trlp]e~S Stee| Supply 00 (Cj
PO BOX 21119

is the claim subject to offset?

g No
|:j Yes

As of the petition filing date, the claim is:

Check all that apply.
j“_"| Contingent

j;| Unliquidated
m Disputed

Basis for the claim:

 

 

 

Houston TX 77226
Date or dates debt was incurred

Last4 digits of account number

 

3.56 Nonpriority creditor‘s name and mailing address

 

 

 

Waste llllanagement (#83005)
PO Box 660345

ls the claim subject to offset?

[.Z] No
m Yes

As of the petition filing date, the claim is:

Check ali that app!y.
j:| Contingent

|:| Unliquidated
|:j Dispuled

Basis for the claim:

 

 

 

Da|las TX 75266

Date or dates debt was incurred

 

Last4 digits of account number

(`\Fl"ir~i=f l:nrm ')nR|:lF

ls the claim subject to offset?

jzj No
jj Yes

As of the petition filing date, the claim is:

Check all that appiy.
jj Contingent

jj Un|iquidaled
[:| Disputed

Basis for the claim:

 

is the claim subject to offset?

[z] No
[”_'j Yes

S¢~_h¢=.dnle Fle Creditors Who Have Llnsecured Claims

Amount of claim

$1,000.23

$267.22

$2,617,096.43

$290.65

page 15

 

 

 

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 29 of 36

Debtor Dri||ing Structures lnternational, lnc. Case number (if known) 18-33395

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 'l and 2. Exarnples of entitles that may be
listed are collection agenciesl assignees oi claims listed above, and attorneys for unsecured creditors

lf no others need to be notified for the debts listed in Parts 1 and 2, do not fill outer submit this page. lf additional pages
are needed, copy the next page.

 

 

 

 

 

 

Name and mailing address On which line in Part1 or Part 2 is the Last 4 digits of
related creditor (if any) |isted? account number,
if any
4.1 internal Revenue Service l_ine _ M _ _
P-O- B°X 7345 g Noi listed Expla:n:
Notice Only
Philacle|phia PA 19101-7346

 

 

 

nrri.~i=u r=mm anal=nr Sehednle EtF: Creditors Who Have Unsecured Claims page 16

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Debtor Driliing Structures lnternationa|, lnc. Case number (if known) 18-33395
Totai Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured ciaims.

Total of claim amounts

5a. Total claims from Part1 5a. $265,435,56

 

5b. Total claims from Part 2 5b. + $11,592,528.46

 

 

50. Total of Parts 'l and 2 5c. $'11,857,964.02
Lines 5a + 5b s 5c. '

 

 

 

nm.-:hl r:mm on;:i:rr: §-`\¢~hnrlnlo F!l'-" Cmrlitnr.q Who Have Unsecured Claims DEl_ClG 17

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 31 of 36

Fili in this information to identify the case:

Debtor name Dril|ing Structures lnternationai, lnc.

 

United States Bankruptcy Court §or the: SOUTHERN DlSTRlCT OF TEXAS

Case number 18-33395 Chapter 'f'l |___`_i Check if this is an
(if known) amended filing

Officia| Form 2066

Scheduie G: Executory Contracts and Unexpired Leases 12115
M

Be as complete and accurate as possible. if more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
i\|o. Ci'\eck this box and fiie this form With the court with the debtor's other schedules `l'here is nothing else to report on this form.
Yes. Fii| in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Reai and Personai Property
(Oificial Form 206AlB).

2. List ali contracts and unexpired leases State the name and mailing address for all other
parties with whom the debtor has an executory
contractor unexpired lease

 

 

2.'1 State what the contract Electric contracts Champion Energy Services, LLC
or lease is for and the Contract to be ASSUN|ED PO Box 4199
nature of the debtor's
interest

 

 

State the term remaining

l.' tth co r t
nlusm beer or;;;c Houston TX 77210
government contract

 

 

 

 

 

2,2 State what the contract Trunks service contract Comcast
or lease is for and the Contract to be ASSUN|ED p0 Box 560513
nature of the debtor's
interest

 

 

State the term remaining

l_' t th nt t
nfmb:r ;‘f’ ar‘;;‘c pause Tx 75266
government contract

 

 

 

 

 

2_3 State what the contract Printer service contract l Dahil|
or lease is for and the Contract to be ASSUNIED p0 Box 205354
nature of the debtor's
interest

 

 

State the term remaining

List the contract
number of any Da"as TX 75320

government contract

 

 

 

2_4 State what the contract Compressor lease First Nationai Capita| LLC

or lease is for and the Contract to be ASSUlVlED H' -
nature of the debtorls 1029 :ghway 6 No. #650 283
interest

 

 

State the term remaining

List the contract
number of any HOUStO" TX 77079

government contract

 

 

 

Official Form 2066 Schedu|e G: Executory Contracts and Unexpired Leases page ‘l

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 32 of 36

Debtor Drili|ng Structures lnternationai, lnc. ease number (if known) 13-33395

- Additional Page if Debtor Has Nlore Execul;ory Contracts or Unexpired Leases

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases State the name and mailing address for all other
parties with whom the debtor has an executory
contractor unexpired lease

 

 

 

2_5 State what the contract Fire suppression system lease First Nationai Capita| LLC
°i lease is f°r a'“’ the CO“iFaCi to be ASSUMED 1029 Hrghway 6 No. #650~233
nature of the debtor's
interest

 

State the term remaining

 

 

List the contract
number of any
government contract

Houston TX 77079

 

2.6 State what the contract Sand blast booth lease First Nationai Capital LLC

or lease is for and the Contract to be ASSUNlED ~ 5 - 3
nature of the debtor's 1029 H‘ghway No` #650 2 3

 

interest

 

State the term remaining

 

 

List the contract
mm ber of any Houston TX 77079

government contract

 

2.7 State what the contract lT service contract Grexo Technotogy Group
er lease is for and the Contract to be ASSUNIED 17755 preston Rd
nature of the debtor's

 

 

interest

 

State the term remaining

 

 

List the contract
number of any Da"a$ TX 75252

government contract

 

 

 

 

2.8 State what the contract Electricai service contract Reiiant Energy Retai| Services
or lease is for and the CO[‘\tl‘ElCt 110 be ASSUMED PO Box 650475
nature of the debtor's
interest

 

State the term remaining

 

 

List the contract
number of any Dalias TX 75265-0475

government contract

 

2_9 State what the contract Copier lease TLC Office Systems (AR)
Or wage is for and the COl'lti’aCt 10 be ASSUN|ED 8711 Fa“brook
nature of the debtor's

 

interest

 

State the term remaining

 

 

List the contract
number of any
government contract

Houston TX 77064-331 8

 

Officia| Form 206(3 Scheduie G: Executory Contracts and Unexpired Leases page 2

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 33 of 36

Filt in this information to identify the case:

Debtor name Driliing Structures international, lnc.

United States Bankrupicy Coud for ibe: SOUTHERN DESTRECT OF TEXAS

 

i:] Check ii this is an

Case number 18-33395
amended filing

(if known)

Official Form 206H

Schedute H: Codebtors 12115
M

Be as complete and accurate as possible. if more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additionai Page to this page.

'i. Does the debtor have any codebtors?
ij No. Check this box and submit this form to the court with the debtor's other schedulesl Nothing else needs to be reported on this form.

g Yes

2. ln Column 1, iist as codebtors ail of the people or entities who are also liable for any debts listed by the debtor in the
schedules of creditors, Schedules D-G. include all guarantors and co-obiigors. in Column 2, identify the creditor to whom the debt is
owed and each schedule on which the creditor is listed. if the codebtor is liable on a debt to more than one creditor, list each creditor

separafeiy in Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

Check all schedules
Name Nlailing address Name that HPPFY-'
2.1 Philitp Rivera Jr. 13419 Ktuge Corner Lane First Nationa| Capitai |;_7[ D
Nurnber Street LLC |:| E/F
[_'_| G
Cypress TX 77429
City state ZsP code
2.2 Phil|ip Rivera Jr. 13419 Kiuge Corner Lane |beriaballk fit D
Number Slreet }:[ EIF
jj G
Cypress TX 77429
Cl‘ty State ZlP Code
2.3 Phillip Rivera ..ir. 13419 K|uge Corner Lane Siemens iii m
Nurnt)er Sireef ij EIF
[_] G
Cypress TX 774-29
City State ZlP Code
2.4 Phillip Rivera Jr. 134-19 Kiuge Corner Lane We||s Fargo Equipment |‘;_7[ D
Number street Finance |;] E/F
l:i G
Cypress TX 77429
C'rty state zlP code

Oificia| Form 2OBH Schedule l-i: Codebtors page 1

 

Debtor

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 34 of 36

Driiling_Structures international, lnc.

- Additional Page if center Has were codebiore

2.5

2.6

2.7

2.8

2.9

2.'|0 Phillip Rivera Sr.

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Name

Phillip Rivera Jr.

Phillip Rivera Sr.

Phillip Rivera Sr.

Phillip Rivera Sr.

Phiilip Rivera Sr.

Official Form 206H

Mailing address

13419 Kluge Corner Lane
Number Slreet

Case number (it known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cypress TX 77429
city state ziP code
8902 Steriing Gate Circle

Number Street

Spring TX 77379
City State ZlP Code
8902 Steriing Gate Circle

Nurnber Sfreet

Spring TX 773?9
City State ZlP Code
8902 Sterling Gate Circie

Nurnber Street

Spring TX 77379
City State ZlP Cocle
8902 Sterling Gate Circle

Nurnber Sireet

Spring TX 77379
C'rty state zlP once
8902 Sterling Gate Circle

Number Slreet

Spring TX 77379
city state z:P code

Schedule H: Codebtors

Name

Wells Fargo Equipment
Finance

First Nationai Capital
LLC

iberiabank

Siemens

Welis Fargo Equipment
Finance

We|is Fargo Equipment
Finance

18-33395

 

Check all schedules
that app!y:

LV_|
l:t
13

l:li`_`ll`$l Eiljl§.l l:ll:ii§l

l'_'ll§l

E]Ei§l

D

EIF

G

EIF

EIF

E!F

tZ/F

EIF

page 2

 

 

 

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 35 of 36

Fill in this information to identify the case:

Debtor Name Drilling Structures international, lnc.

United States Bankruptcy Court for the: SOUTHERN DlSTR|C“l“ OF TEXAS

l'_'i Checl< if this is an

Case number (if known): 13'33395
amended filing

 

 

Official Form 2068urn
Summary of Assets and Liabitities for dion-individuals 12115

m Summary of Assets

1. Schedule A/B: Assers~-Real and Personai Properry(Offlcia| Form 206A!B)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ia. Reai property:
Copy line 88 from Schedule AIB M
1b. Total personal property:
Copy line 91A from Schedule AIB w
'lc. Total of att property
Copy line 92 from Scheduie AIB anew
Summary of Liabi|ities
2. Schedule D: Creditors Who Have Claims Secured by Property (Otficia| Form 206[))
Copy the total doiiar amount iisted in Column A, Amount of claim, from line 3 of Scheduie D __M
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official F crm ZOBE/F)
3a. Totai claim amounts of priority unsecured ciaims:
Copy the total grams from Part 1 from line sa er schedule E/F $2651435'56
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of ctaims from Part 2 from line 5b of Schedu|e EJF + $11’5921528‘46
4. Total liabilities
ones 2 + 33 + 3a MZ_&

 

 

 

Officiai Form ZGSSum Summary of Assets and Liabitities for Non-|ndividuais page t

 

Case 18-33395 Document 10 Filed in TXSB on 07/11/18 Page 36 of 36

Filt in this information to identify the case and this filtrlg:

      

Debior Name Drii|lng Struotures internationai, lnc.

   

Uniied Siaies Bankruptcy Court ior ihe: SOUTHERN DJSTR|CT OF TEXAS
18-33395

  
    

  

Case number
(if known)

 

Otiicial F~'orm 202
Dec|aration Under Penaity of Perjury for Non-individuai Debtors 12/15
w

An individual who is authorized to aci on behaif of a non-individual debtor, such as a corporation or parinership, must sign and
submit this form ior the scheduies of assets and iiabiilties, any other document that requires a declaration that is not included
in the document and any amendments oi those documentsl This form must state the individua|‘s position or relationship to
the debtor, the identity of the documentl and the daie. Bankrupioy Ruies 1005 and 9011.

WARN|NG -- Bankrupicy fraud la a serious crime. Making a iaise statement consenting proparty, or obtaining money or §

property by fraud in connection with a bankruptcy case can result in fines up io $500,000 or imprisonment for up to 20 years. or
'both. 18 U.S.C.§§152,134‘i,1519,and 3571.

_ Dec|aration and signature

l am the president another oitioer, or an authorized agent of the corporaiion; a member or an euihorizod agent of the partnership;
or another individuai serving as a representative of the debtor in ihis caso.

i have examined the information in the documents checked below and | have a reasonable belief that the information is true and
correct:

|2[ Schedule A/B.' Assets-Reai end Personai Property (Otiiciei Forrn EGSA/B}
Scheduie D.' Creditors Who Have Claims Secured by Property (Dtiiciai Form 2060)
Scheduie E/F.' Creditors Who Have Unsecured Claims (Otficiai i~`orm EOGEIF)
Scheduie G: Execurory Con!recis and Unsprer Leases (Otilciai Form 206{3}
Scheduie H.' Codebrors (Otiiciai Form 206i-i}

A Summary ofAssets and Liabiiities for Non»iociividuals (Otiiciai Forrn 206-Summary)

Amended Scheduie

 

|___ll:i|§.il$}l§ii§il§l

Chepter 11 or Chapter 9 Cases.‘ List of Creditors Who Have the 20 l'_argesr Unsecured Claims and Aro Noi' insiders
(Otiiciai Form 204}

i:| Other document that requires a declaration

 

i deciare under penalty of perjury that the foregoing is true anci.corroci.

executed on 07/11/2018 x l / do //zr’//" j
ile .r ou / YYYY signature cir/indicium signing on ayer/debtor

Phillip Rivera Jr.
Printed name

Executive Vice President
F’osiiion or re|aiionship to debtor

Officia| Form 8202 Daciaration Urldar Penaity of Perlury for Non-individua| Debtors

 

 

